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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                                 ENTERED
                                                                            February 03, 2022
                                                                            Nathan Ochsner, Clerk

UNITED STATES DISTRICT COURT                   SOUTHERN DISTRICT OF TEXAS



UNITED STATES OF AMERICA                §
                                        §
       V.                               §     4: l 8-CR-00339-001
                                        §
DUSTIN CURRY,                           §
                                        §
      Defendant.                        §

              ORDER RESETTING DISCLOSURE DATE AND SENTENCING


At the request of the United States, the sentencing of the defendant is reset:

   1. The presentence investigation report will be made available to the defendant
      on ;ViA.,fU       Ll, :lo;l~ .
   2. Counsel will have fourteen days after disclosure to file objections to the
      presentence investigation report.

   3. The final copy of the presentence investigation report will be filed with the
      Court seven (7) days prior to sentencing.

   4. Sentencing will be held on    Ap ~;/      ;).J                         ,
                                                            , 2022 , at 1:«> ;O~


   Signed,    FG-JS, 3           , 2022 , at Houston, Texas.




                                              Sim Lake
                                              Senior United States District Judge
